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                    UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA


AbbVie, Inc.,                          Civil No. 24-2605(DSD/TNL)
Allergan, Inc.,
Durata Therapeutics, Inc.,
AbbVie Products LLC,
Aptalis Pharma US, Inc.,
Pharmacyclics LLC,
Allegan Sales, LLC,


           Plaintiffs,

v.

Keith M. Ellison,

           Defendant.

_____________________________________________________________


AstraZeneca Pharmaceuticals LP         Civil No. 24-2621(DSD/TNL)

           Plaintiff,

v.

Keith M. Ellison,
Ronda Chakolis,
Kendra Mets,
James Bilake,
Amy Paradis,
Ben Maisenbach,
Rabih Nahas,
Michael Haag,
John M. Zwier,
Barbara Droher Kline,

           Defendants.
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     This matter is before the court upon the motions to dismiss

by defendants in the two above-captioned matters.                The court has

consolidated the cases for purposes of the pending motions given

the similar issues raised.        Based on a review of the file, record,

and proceedings herein, and for the following reasons, the motions

are granted.



                                  BACKGROUND

     This   dispute      arises    from   plaintiffs’      challenge     to     the

constitutionality of Minnesota Statute § 62J.96, which requires

pharmaceutical manufacturers to offer discounted pricing mandated

by Section 340B of the Public Health Service Act, 42 U.S.C. § 256b,

to an unlimited number of “contract pharmacies” 1 and as a condition

to participating in Medicaid. 2       AbbVie Am. Compl. ¶ 12; AstraZeneca

Am. Compl. ¶ 4.       Plaintiffs contend that in doing so, § 62J.96

effectively    expands    the     scope   of   §340B   coverage     by   forcing

manufacturers to provide discounted drugs for sales occurring

through contract pharmacies contrary to § 340B’s plain language

and federal case law.        AbbVie Am. Compl. ¶ 12; AstraZeneca Am.


     1  “Contract pharmacies” are pharmacies “under contract with
a 340B covered entity to receive and dispense covered outpatient
drugs on behalf of the covered entity.” AbbVie Am Compl. ¶ 12.
     2 The statutory scheme is complex and will be discussed only
in enough to detail to provide context for the issues raised in
defendants’ motions.
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Compl. ¶ 4.

     Plaintiffs    AbbVie,     Inc.,    AstraZeneca       Pharmaceuticals        LP,

Allergan, Inc., Durata Therapeutics, Inc., AbbVie Products LLC,

Aptalis Pharma US, Inc., Pharmacyclics LLC, and Allegan Sales, LLC

are drug manufacturers. 3 AbbVie Am. Compl. ¶¶ 19-25; AstraZeneca

Am. Compl. ¶ 15.     Plaintiffs sue defendant Keith Ellison in his

official capacity as the Attorney General of Minnesota.                     AbbVie

Am. Compl. ¶ 26; AstraZeneca Am. Compl. ¶ 16.                AstraZeneca also

sues Ronda Chakolis, Kendra Mets, James Bilake, Amy Paradis, Ben

Maisenbach, Rabih Nahas, Michael Haag, John M. Zwier, and Barbara

Droher Kline, in their official capacities as members of the

Minnesota Board of Pharmacy. 4         AstraZeneca Am. Compl. ¶¶ 17-25.

     In early July 2024, plaintiffs filed suit against the Attorney

General and the BOP, alleging various constitutional claims and

seeking   declaratory   and    injunctive       relief.      In    August    2024,

plaintiffs filed amended complaints.               Abbie alleges preemption

under the Sixth Amendment’s Supremacy Clause; violation of the

Fourth Amendment’s Takings Clause; and violation of the Fourteenth

Amendment’s Due Process Clause.             AbbVie Am. Compl. ¶¶ 109-133.



     3 The court will refer to the drug manufactures collectively
as “plaintiffs” unless a finer distinction is required.
     4 The court will         refer    to    the   pharmacy       board   members
collectively as “BOP.”

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AstraZeneca similarly alleges preemption and violation of the

Takings   Clause.      AstraZeneca     Am.     Compl.      ¶¶   91-94,      101-06.

AstraZeneca also alleges violation of Article One’s Contracts

Clause.   Id. ¶¶ 95-100.

     Plaintiffs have sued the Attorney General because, in his

role as Attorney General, “he has the responsibility to enforce

the laws of the state, including [§ 62J.96], pursuant to his

constitutional    duties[.]”      AbbVie     Am.     Compl.     ¶   26;   see      also

AstraZeneca Am. Compl. ¶ 16.       As to the BOP, AstraZeneca contends

that it also “enforces the challenged legislation.”                    AstraZeneca

Am. Compl. ¶¶ 17-25.       Plaintiffs asks the court to enjoin the

Attorney General and the BOP from enforcing § 62J.96 given its

unconstitutionality.        Plaintiffs        do     not    allege        that     any

enforcement action has been undertaken, nor do they allege that

enforcement has been threatened by either defendant.

     Defendants     now   move    to       dismiss    on      various      grounds.

Defendants’ positions have been supported by amici curiae.                         See

AbbVie ECF No. 34; AstraZeneca ECF No. 37.



                                 DISCUSSION

I.   Standard of Review

     To survive a motion to dismiss for failure to state a claim,



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“‘a complaint must contain sufficient factual matter, accepted as

true, to state a claim to relief that is plausible on its face.’”

Braden v. Wal-Mart Stores, Inc., 588 F.3d 585, 594 (8th Cir. 2009)

(quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)).                   “A claim

has facial plausibility when the plaintiff [has pleaded] factual

content that allows the court to draw the reasonable inference

that the defendant is liable for the misconduct alleged.”                  Iqbal,

556 U.S. at 678 (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544,

556 (2007)).      Although a complaint need not contain detailed

factual allegations, it must raise a right to relief above the

speculative level.      Twombly, 550 U.S. at 555.                 “[L]abels and

conclusions or a formulaic recitation of the elements of a cause

of action” are not sufficient to state a claim.                  Iqbal, 556 U.S.

at 678 (citation and internal quotation marks omitted).

II.   Standing/Eleventh Amendment Immunity

      Article III of the United States Constitution limits the

jurisdiction     of   federal      courts      to    justiciable      cases      and

controversies. U.S. Const. art. III, § 2; Lujan v. Defenders of

Wildlife, 504 U.S. 555, 559–60 (1992).              Standing is an “essential

and unchanging part of the case-or-controversy requirement of

Article III.”     Lujan, 504 U.S. at 560.             To satisfy Article III

standing requirements, a plaintiff must demonstrate (1) an injury



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in fact 2) the injury is fairly traceable to the challenged action

of the defendant; and 3) it is likely, as opposed to merely

speculative, that the injury will be redressed by a favorable

decision.    Friends of the Earth, Inc. v. Laidlaw Envt’l Servs.

(TOC), Inc., 528 U.S. 167, 180-81 (2000) (citation omitted).

Whether a party has established the three elements of standing is

an “inescapable threshold question.” Advantage Media, L.L.C. v.

City of Eden Prairie, 456 F.3d 793, 799 (8th Cir.2006).                     If a

plaintiff lacks standing, “the district court has no subject-

matter jurisdiction” and the case must be dismissed.                Faibisch v.

Univ. of Minn., 304 F.3d 797, 801 (8th Cir. 2002); Fed. R. Civ. P.

12(h)(3).

      “The Eleventh Amendment confirms the sovereign status of the

States by shielding them from suits by individuals absent their

consent.”    Digital Recognition Network, Inc. v. Hutchinson, 803

F.3d 952, 957 (8th Cir. 2015) (quoting Frew ex rel. Frew v.

Hawkins, 540 U.S. 431, 437 (2004)).             The Eleventh Amendment also

bars suits brought against state officials if “the state is the

real, substantial party in interest.” Id. (quoting Pennhurst State

Sch. & Hosp. v. Halderman, 465 U.S. 89, 101 (1984) (internal

quotation marks omitted).       That said, it has long been held that

“a   suit   to   enjoin   a   state    official’s     enforcement      of   state



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legislation on the ground that the official’s action would violate

the Constitution is not a suit against the State, and is thus not

barred by the Eleventh Amendment, so long as the official has ‘some

connection with the enforcement of the act.’”                Id. at 956-57

(citing and quoting Ex Parte Young, 209 U.S. 123, at 155–60

(1908)).   This is so because unconstitutional state legislation is

“void,” and subsequent enforcement therefore “is a proceeding

without the authority of, and one which does not affect, the state

in its sovereign or governmental capacity.”          Ex Parte Young, 209

U.S. at 159.

      “The questions of Article III jurisdiction and Eleventh

Amendment immunity are related.”        Hutchinson, 803 F.3d at 957.        To

establish standing under Article III, the plaintiff must show a

“causal connection between the state officials and the alleged

injury.”    Id.   The Eleventh Amendment likewise requires “some

connection”    between   the    officials    and   enforcement       of     the

challenged state law.     Id.    The question here, then, is whether

defendants have a sufficient connection to the enforcement of

§ 62J.96 to allow plaintiffs to proceed to the merits of their

claims.    The court concludes that they do not.

     As the Attorney General argues, the legislature did not

expressly empower the Attorney General to enforce § 62J.96, despite



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granting   the   Attorney   General   enforcement    authority     in   other

sections of Chapter 62J.      See Minn. Stat. § 62J.844 (empowering

the Attorney General to sue civilly under the Prescription Drug

Price Transparency Act, Minn. Stat. §§ 62J.841 to 62J.845).                 The

legislature’s silence as to enforcement in § 62J.96 is therefore

significant.     The legislature could have empowered the Attorney

General to sue under § 62J.96 but chose not to.         Further, there is

no indication that the legislature ever contemplated empowering

the Attorney General with such authority.          See, e.g., AbbVie Am.

Compl. ¶¶ 91-92.

     The court is unpersuaded by plaintiffs’ argument that the

Attorney General is empowered to enforce § 62J.96 under its general

constitutional powers or Minn. Stat. § 8.31, 5 as neither provide

a sufficient connection between the statute and the Attorney

General’s general enforcement authority.       See Hutchinson, 803 F.3d

at 960-64 (state attorney general’s “broad powers” to enforce state

laws insufficient to meet the requisite causal connection to

establish standing or Ex Parte Young’s exception to sovereign



     5
       Section 8.31 authorizes the Attorney General to “investigate
violations of the law of [Minnesota] respecting unfair,
discriminatory, and other unlawful practices in business,
commerce, or trade[.]” There is no indication that this provision
is meant to be a catch-all to authorize the Attorney General to
enforce any statute that does not name an enforcement entity.


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immunity); see also Calzone v. Hawley, 866 F.3d 866, 870 (8th Cir.

2017) (same); Church v. Mo., 913 F.3d 736, 749-50 (8th Cir. 2019)

(same).

     As to the BOP, the court finds likewise.                       Although the

legislature appears to have contemplated empowering the BOP to

enforce § 62J.96, it did not do so.               See Minn. H.F. 4991 and

§ 62J.96; see, e.g., AbbVie Am. Compl. ¶¶ 91-92.                 It did, however,

empower the BOP with enforcement authority over other sections of

Chapter 62J.       See Minn. Stat. § 151.071.         Again, the silence in

§ 62J.96 is meaningful, and in the case of the BOP, dispositive.

     Also important here, the “Ex parte Young doctrine does not

apply    when    the   defendant    official    has   neither       enforced      nor

threatened to enforce the statute challenged as unconstitutional.”

281 Case Comm. V. Arneson, 766 F.3d 774, 797 (8th Cir. 2014)

(internal       citations   and    quotations   omitted).          There    is     no

allegation that either defendant has enforced or threatened to

enforce the statute.        Indeed, defendants’ position rests on the

theory that they do not have the authority to do so. 6                 Plaintiffs

argue that defendants must do more than say they have no present



     6 The court trusts that defendants are earnest in the position
they have taken in this case, and that they are not resting on
purely semantic distinctions to evade litigation. The court would
view any subsequent enforcement action under § 62J.96 by either
defendant as contrary to the position they have taken in this case.

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intention to enforce § 62J.96.        The court disagrees.         The Eighth

Circuit Court of Appeals has stated that the “failure to disavow

future prosecutions is not fatal to [a] claim of Eleventh Amendment

immunity.”     Minn. RFL Republican Farmer Labor Caucus v. Freeman,

33 F.4th 985, 992 (2022).

       As a result, based on the finding of lack of standing and

Eleventh Amendment immunity, the court must dismiss this action.



                               CONCLUSION

       Accordingly, based on above, IT IS HEREBY ORDERED that:

       1.   The motion to dismiss in AbbVie, Inc., et al. v. Ellison,

Case No. 24-cv-2605 [ECF No. 27], is granted;

       2.   The motion to dismiss in AstraZeneca Pharmaceuticals LP

v. Ellison, et al., Case No. 24-cv-2621 [ECF No. 31], is granted;

and

       3.   The above-entitled cases are dismissed.

LET JUDGMENT BE ENTERED ACCORDINGLY.



Dated: April 3, 2025               s/David S. Doty
                                   David S. Doty, Judge
                                   United States District Court




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